          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:09cr13-3


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                  ORDER
                            )
                            )
DENNIS LAMAR BRUTON.        )
                          )



     THIS MATTER is before the Court on the Defendant’s Motion to Unseal

Documents [Doc. 632].

     The Defendant states that he is unable to file a motion pursuant to 28

U.S.C. §2255 without a copy of his Presentence Report and the Objections

thereto. On June 4, 2012, however, the Defendant did, in fact, file a Motion

under 28 U.S.C. §2255 to Vacate, Set Aside or Correct Sentence by a Person

in Federal Custody. [Doc. 634; Civil Case No. 1:12cv123 at Doc. 1]. The

Defendant attached a portion of his Second Revised Final Presentence

Report [Doc. 540] to that motion. The motion is therefore moot as to that

document.

     The documents sought by the Defendant are Presentence Reports,




   Case 1:09-cr-00013-MR-WCM    Document 652   Filed 06/27/12   Page 1 of 4
Objections thereto and revisions of those reports and objections. [Docs. 440,

466, 528, 529, 535, 540, 541]. He also seeks a copy of the Statement of

Reasons attached to his Judgment of Conviction. [Doc. 547]. The Statement

of Reasons contains the same information as that contained within the final

revised presentence report.

     The Bureau of Prisons (BOP) Program Statement No. 1351.05 prohibits

federal inmates from possessing copies of their presentence reports due to

safety concerns. United States v. Pugh, 69 F. App’x. 628 (4 th Cir. 2003);

Thompson v. United States Dept. of Justice, 2006 WL 2585033 (N.D.W.Va.

2006). As a result, the Clerk of Court may not mail a copy of the Defendant’s

presentence report to him. Id.

     “Although an inmate is entitled to a copy of his PSR from the

Department of Justice of the Bureau of Prisons under FOIA,” the Defendant

waived his FOIA rights in his plea agreement.      Thompson, supra.        The

Defendant entered into a plea agreement with the Government pursuant to

which he agreed to the following provision:

     The defendant waives all rights, whether asserted directly or by
     a representative, to request or to receive from any department or
     agency of the United States any records pertaining to the
     investigation or prosecution of this case, including without
     limitation any records that may be sought under the Freedom of
     Information Act, 5 U.S.C. §552, or the Privacy Act of 1974, 5

                                     2


   Case 1:09-cr-00013-MR-WCM     Document 652   Filed 06/27/12   Page 2 of 4
      U.S.C. §552a.

[Doc. 251, at 5].

      The Court therefore finds that the waiver contained within the plea

agreement precludes this motion. United States v. Lucas, 141 F. App’x. 169

(4 th Cir. 2005), cert. denied 546 U.S. 1196, 126 S.Ct. 1391, 164 L.Ed.2d 94

(2006); Caston v. Executive Office for U.S. Attorneys, 572 F.Supp.2d 125

(D.D.C. 2008).

      The Defendant also seeks a copy of an ex parte Order concerning the

issuance of subpoenas in connection with a motion to suppress. [Doc. 163].

That document remains under seal. [Id.]. In that document, the trial court

granted the motion for the issuance of subpoenas for witnesses to testify at

the suppression hearing. [Id.]. In the trial court’s Order denying the Motion to

Suppress, reference is made to each witness who was subpoenaed and who

testified at the hearing. [Doc. 180]. The Court will instruct the Clerk of Court

to mail to the Defendant a copy of that Order denying the Motion to Suppress.

The ex parte Order which is under seal will not be mailed.




                                       3


   Case 1:09-cr-00013-MR-WCM      Document 652    Filed 06/27/12   Page 3 of 4
     IT IS, THEREFORE, ORDERED that the Defendant’s Motion to Unseal

Documents [Doc. 632] is hereby DENIED in part and GRANTED in part.

     The Clerk of Court is instructed to mail a copy of Document 180 to the

Defendant.

                                    Signed: June 26, 2012




                                    4


  Case 1:09-cr-00013-MR-WCM    Document 652     Filed 06/27/12   Page 4 of 4
